                  Case 1:18-cv-00390 Document 1 Filed 02/21/18 Page 1 of 6
 


                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


    BENJAMIN WITTES
    1775 Massachusetts Ave NW
    Washington D.C. 20036,

                     Plaintiff,
             v.                                             Civil Action No.: 18-390
    UNITED STATES DEPARTMENT OF STATE
    2201 C Street NW
    Washington, D.C. 20520,

                     Defendant.


                             COMPLAINT FOR INJUNCTIVE RELIEF

        1.         This is an action under the Freedom of Information Act, 5 U.S.C. § 552, to

compel the production of agency records requested by Plaintiff Benjamin Wittes that pertain to

the use of Defendant United States Department of State’s official websites and social media

accounts to promote the Mar-a-Lago Club, a for-profit club in which President Donald J. Trump

has a financial interest.

        2.         Mr. Wittes brings this suit to challenge Defendant Department of State’s failure to

timely process his request and disclose responsive records.

        3.         Mr. Wittes submitted his request for agency records pursuant to the Freedom of

Information Act on May 16, 2017. Defendant Department of State has acknowledged receipt of

the request, but it has not provided a response explaining whether it will comply with the request.

Because the Freedom of Information Act allows Defendant Department of State only 20 business

days to inform Mr. Wittes whether it will comply with his request for records, Defendant


                                                    1
             Case 1:18-cv-00390 Document 1 Filed 02/21/18 Page 2 of 6
 


Department of State’s failure to respond for nine months has far exceeded the statutory deadline.

                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

       5.      Venue is proper in this District under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §

1391(e).

                                            PARTIES

       6.      Plaintiff Benjamin Wittes is the requestor of the records that Defendant

Department of State is withholding. Mr. Wittes is the Editor-in-Chief of Lawfare, a non-profit

publication dedicated to informing the public on, among other topics, the use of Executive

authority. Mr. Wittes filed his request for records pertaining to Mar-a-Lago in connection with

his work for Lawfare and will use any produced records to inform the public’s understanding of

the government’s operations and activities, not for any commercial use.

       7.      Defendant Department of State is a federal agency within the meaning of 5 U.S.C.

§ 552(f)(1) and is headquartered in Washington, D.C.

                                             FACTS

Background

       8.      In April 2017, ShareAmerica, a website operated by Defendant Department of

State’s Bureau of International Information Programs, published an article about Mar-a-Lago.

The article, titled “Mar-a-Lago: The winter White House,” touted President Trump’s “Florida

estate” and highlighted the role of President Trump, who is described in the article as “a real-

estate magnate,” in “refurbishing” the estate and opening it to “dues-paying members of the

                                                 2
                 Case 1:18-cv-00390 Document 1 Filed 02/21/18 Page 3 of 6
 


public in 1995 as the Mar-a-Lago Club.” The article also included pictures of Mar-a-Lago’s

ornate living room and ballroom and provided a history of the estate.

       9.         In addition to appearing on ShareAmerica, “Mar-a-Lago: The winter White

House” also appeared on, or was linked to by, at least the following website and social media

accounts that Defendant Department of State operates:

                 The United States Embassy & Consulates in the United Kingdom’s website;

                 Defendant Department of State’s Bureau of Economic & Business Affairs’

                  Facebook Account; and

                 The United States Embassy in Albania’s Facebook Account.

       10.        After news media outlets reported on the article, it was removed from

ShareAmerica’s site and from all other websites and social media accounts that Defendant

Department of State operates.

       11.        President Trump currently has a financial interest in the Mar-a-Lago Club—as he

did at the time Defendant Department of State published the article—which is operated as a for-

profit entity. In January 2017, three months before the article about Mar-a-Lago appeared on

ShareAmerica, Mar-a-Lago doubled its $100,000 membership initiation fee to $200,000.

       12.        President Trump’s decision to refuse to divest himself of his business interests,

including his financial interest in Mar-a-Lago, has been the subject of public interest and raised

questions regarding possible conflicts of interest.

Mr. Wittes’s Request

       13.        On May 16, 2017, Mr. Wittes submitted a FOIA request to Defendant Department

of State requesting records pertaining to the publication of “Mar-a-Lago: The winter White

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             Case 1:18-cv-00390 Document 1 Filed 02/21/18 Page 4 of 6
 


House” and its use by multiple websites and social media accounts that Defendant Department of

State operates.

       14.        Mr. Wittes’s request seeks documents relating to the decisionmaking process for

using Defendant Department of State’s websites to promote Mar-a-Lago; communications

between Defendant Department of State and third parties about how to publicize Mar-a-Lago;

documents concerning the removal of articles related to Mar-a-Lago from Defendant Department

of State’s websites and social media accounts; documents related to requests for photographs of

Mar-a-Lago; and documents related to Defendant Department of State’s use of social media

accounts to publicize information about Mar-a-Lago. A copy of Mr. Wittes’s request is attached

as Exhibit A to this Complaint.

       15.        Mr. Wittes also requested a fee waiver pursuant to 5 U.S.C. § 552(a)(4)(A).

       16.        Defendant Department of State received Mr. Wittes’s FOIA request and assigned

it case number F2017-12470.

       17.        The Freedom of Information Act requires an agency that has received a records

request to determine, within 20 business days of receipt of the request, “whether to comply with

[the] request” and to “immediately notify the person making [the] request of . . . [the]

determination and the reasons therefor.” 5 U.S.C. § 552(a)(6)(i).

       18.        To date, Defendant Department of State has not communicated to Mr. Wittes

whether it will comply with his request.

       19.        As of the date of this Complaint, nine months have elapsed since Mr. Wittes

submitted his request.

       20.        Defendant Department of State’s failure to respond to Mr. Wittes’s request

                                                  4
              Case 1:18-cv-00390 Document 1 Filed 02/21/18 Page 5 of 6
 


constitutes constructive denial of his request. This denial is without legal justification.

                                      CAUSES OF ACTION

                                          Count 1
               Violation of FOIA: Failure to Comply with Statutory Deadlines

       21.     Plaintiff re-alleges and incorporates by reference paragraphs 1-20.

       22.     Defendant Department of State has failed to communicate to Mr. Wittes whether

it will comply with Mr. Wittes’s request for the production of agency records within the statutory

deadline.

       23.     Because of Defendant Department of State’s failure, Mr. Wittes’s obligation to

exhaust administrative remedies is satisfied.

                                         Count 2
                Violation of FOIA: Unlawful Withholding of Agency Records

       24.     Plaintiff re-alleges and incorporates by reference paragraphs 1-23.

       25.     Defendant Department of State has wrongfully withheld records responsive to Mr.

Wittes’s request.

       26.     Because of Defendant Department of State’s failure to timely respond to Mr.

Wittes’s request, Mr. Wittes’s obligation to exhaust administrative remedies is satisfied.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court:

    A. Order Defendant Department of State to promptly process Plaintiff’s request and disclose

       responsive agency records;

    B. Award Plaintiff costs and reasonable attorneys’ fees; and

    C. Grant such other relief as the Court may deem just and proper.

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            Case 1:18-cv-00390 Document 1 Filed 02/21/18 Page 6 of 6
 




                                     Respectfully submitted,

                                     /s/ Robert D. Friedman
                                     Robert D. Friedman
                                     D.C. Bar No. 1046738
                                     Institute for Constitutional Advocacy and Protection
                                     Georgetown University Law Center
                                     600 New Jersey Ave. NW
                                     Washington, D.C. 20001
                                     Tel: 202-662-9042
                                     Fax: 202-662-9248
                                     rdf34@georgetown.edu




Dated February 21, 2018




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Case 1:18-cv-00390 Document 1-1 Filed 02/21/18 Page 1 of 4




                   Exhibit A
                Case 1:18-cv-00390 Document 1-1 Filed 02/21/18 Page 2 of 4
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                Case 1:18-cv-00390 Document 1-1 Filed 02/21/18 Page 4 of 4
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Case 1:18-cv-00390 Document 1-2 Filed 02/21/18 Page 1 of 2
Case 1:18-cv-00390 Document 1-2 Filed 02/21/18 Page 2 of 2
                     Case 1:18-cv-00390 Document 1-3 Filed 02/21/18 Page 1 of 2
                                                                                                                 FOIA Summons
                                                                                                                 1/13



                                         UNITED STATES DISTRICT COURT                                             CLEAR FORM
                                         FOR THE DISTRICT OF COLUMBIA


                Benjamin Wittes
                                                           )
                        Plaintiff                          )
                                                           )
                v.                                         )                Civil Action No. 18-390
        United States Department of State                  )
                                                           )
                        Defendant                          )



                                           SUMMONS IN A CIVIL ACTION

To:     (Defendant’s name and address)
                                         Jessica K. Liu
                                         U.S. Attorney for the District of Columbia
                                         555 4th Street NW
                                         Washington, DC 20530



        A lawsuit has been filed against you.

        Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                      Robert D. Friedman
                      Institute for Constitutional Advocacy and Protection
                      Georgetown University Law Center
                      600 New Jersey Ave. NW
                      Washington, DC 20008




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                    ANGELA D. CAESAR, CLERK OF COURT



Date:
                                                                            Signature of Clerk or Deputy Clerk
                          Case 1:18-cv-00390 Document 1-3 Filed 02/21/18 Page 2 of 2
FOIA Summons (12/11) (Page 2)

Civil Action No. 18-390

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                        .

          ’ I personally served the summons on the individual at (place)
                                                                              on (date)                          ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                           , a person of suitable age and discretion who resides there,
          on (date)                           , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                              on (date)                          ; or

          ’ I returned the summons unexecuted because                                                                          ; or

          ’ Other (specify):
                                                                                                                                      .


          My fees are $                       for travel and $                  for services, for a total of $          0.00          .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:




          Print                     Save As...                                                                    Reset
                     Case 1:18-cv-00390 Document 1-4 Filed 02/21/18 Page 1 of 2
                                                                                                               FOIA Summons
                                                                                                               1/13



                                         UNITED STATES DISTRICT COURT                                           CLEAR FORM
                                         FOR THE DISTRICT OF COLUMBIA


                Benjamin Wittes
                                                          )
                        Plaintiff                         )
                                                          )
                v.                                        )               Civil Action No. 18-390
        United States Department of State                 )
                                                          )
                        Defendant                         )



                                          SUMMONS IN A CIVIL ACTION

To:     (Defendant’s name and address)
                                         Jeff Sessions
                                         United States Attorney General
                                         U.S. Department of Justice
                                         950 Pennsylvania Avenue NW
                                         Washington, DC 20530

        A lawsuit has been filed against you.

        Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                      Robert D. Friedman
                      Institute for Constitutional Advocacy and Protection
                      Georgetown University Law Center
                      600 New Jersey Ave. NW
                      Washington, DC 20008




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                  ANGELA D. CAESAR, CLERK OF COURT



Date:
                                                                          Signature of Clerk or Deputy Clerk
                          Case 1:18-cv-00390 Document 1-4 Filed 02/21/18 Page 2 of 2
FOIA Summons (12/11) (Page 2)

Civil Action No. 18-390

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                        .

          ’ I personally served the summons on the individual at (place)
                                                                              on (date)                          ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                           , a person of suitable age and discretion who resides there,
          on (date)                           , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                              on (date)                          ; or

          ’ I returned the summons unexecuted because                                                                          ; or

          ’ Other (specify):
                                                                                                                                      .


          My fees are $                       for travel and $                  for services, for a total of $          0.00          .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:




          Print                     Save As...                                                                    Reset
                     Case 1:18-cv-00390 Document 1-5 Filed 02/21/18 Page 1 of 2
                                                                                                              FOIA Summons
                                                                                                              1/13



                                         UNITED STATES DISTRICT COURT                                          CLEAR FORM
                                         FOR THE DISTRICT OF COLUMBIA


                Benjamin Wittes
                                                          )
                        Plaintiff                         )
                                                          )
                v.                                        )              Civil Action No. 18-390
        United States Department of State                 )
                                                          )
                        Defendant                         )



                                          SUMMONS IN A CIVIL ACTION

To:     (Defendant’s name and address)
                                         United States Department of State
                                         2201 C Street NW
                                         Washington, D.C. 20520




        A lawsuit has been filed against you.

        Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                      Robert D. Friedman
                      Institute for Constitutional Advocacy and Protection
                      Georgetown University Law Center
                      600 New Jersey Ave. NW
                      Washington, DC 20008




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                  ANGELA D. CAESAR, CLERK OF COURT



Date:
                                                                         Signature of Clerk or Deputy Clerk
                          Case 1:18-cv-00390 Document 1-5 Filed 02/21/18 Page 2 of 2
FOIA Summons (12/11) (Page 2)

Civil Action No. 18-390

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Date:
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:




          Print                     Save As...                                                                    Reset
